Case 3:17-cv-00072-NKM-JCH Document 457-6 Filed 04/03/19 Page 1 of 5 Pageid#: 4267




           EXHIBIT 6
Case 3:17-cv-00072-NKM-JCH Document 457-6 Filed 04/03/19 Page 2 of 5 Pageid#: 4268




                  Eli M osley @ThatEliMosley · Aug 7                                                     V

                  Replying to @ThatEliMosley
                  ...Our birthright will be ashes & they·11 have to pry it from our cold dead hands if
                  t hey want it. They will not replace us wit hout a fight.

                  0 1           t.1.   6      C) 23

                  Eli M osley @ThatEliMosley · Au g 7                                                    V

                  We are still going to Charlottesville. This is our country and it is our right that
                  me and thousands foug ht for already...

                  Q    2        t.1.   8      C)   26


                  Eli M osley @ThatEliMosley · Aug 7                                                     V
Case 3:17-cv-00072-NKM-JCH Document 457-6 Filed 04/03/19 Page 3 of 5 Pageid#: 4269




                       Eli Mosley @EliMosleylE ·18h                                                 V

                       Just got done testifying at the #FreeCantwell trial. Unsure exactly what is
                       going on other than what everyone else knows. It seems that t he antifa
                       lied on their original reports. Imagine my shock ...

                       Os            l1   57        ""   290   B
                       Eli Mosley @EliMosleylE ·18h                                                 V

                       ... as everyone knows, despite not doing favors for hi mself, he was bein g
                       h eld as a p olitical prisoner and the truth was obviously on his side. I'll be
                       curious if he is able to get justice agai nst t he fal se a ccusations ...

                       03            l1   3         _    68    B

                       Eli Mosley
                                                                                (   Follow    )     v
                       @EliMosleylE


               ...we sti II have a lot of legal battles ahead of us
               so check out ldentityEvropa.com for info on
               our case. I' ll also be on a few podcasts this
               weekend chatting about this stuff since it is
               crucial that we continue to win in court for the
               future of our peo ple.
               5:13 PM - 9 Nov 2017


               7 Retweets 55 Likes
                                                                   •o
               0   2      ll   7               55        B
Case 3:17-cv-00072-NKM-JCH Document 457-6 Filed 04/03/19 Page 4 of 5 Pageid#: 4270




                           Eli Mosley @EILMose/_ . Sh                                                        V

                           From the CVil~ report;

                           " Leutemnt 1-t!tterdescribedthedispersalof Eman:ij:Gtbn AlrkonAu;il.15112 as the
                           Hmost
                           mesSJed up thing lever saw.HI-titter notedthattheAlt-Rl]htCEmor5tr.itorswere
                           :ocream ing
                           attheVSPandCPDoffi:ersasthe mobi~feljforce pushed ...

                            Q   ti         n   41           I SI    B
                           Eli Mosley @EILMose/_ . Sh                                                        V

                           ...from the rear of Eman:ij:Gton
                           Alrt oom mentingthat'youare pushing us rght intothecrowd.Hl-t!tteragreedwith
                           this
                           assessment. noting that the effort was Haiusingoonlrontatbnsa nd pushing [theAlt-
                           RghtJ
                           rght into their enem es.HLeutemnt MOOIE'/ sim it3 rlt tolj us that

                            Qt             n   22          107      B

                           Eli Mosley                                                    (      Follow   )   v
                           @EILMu.~-


                  It is amazing to me that this "independent
                  investigation" would use a picture of a
                  different rally entirely.
                                ~iol
                                WJillA~




                                                          •
                  11 :SSAM -1 Le:: 2017


                  1S Retweets 75 lil::es

                  Q   4         ll   g              75    El
Case 3:17-cv-00072-NKM-JCH Document 457-6 Filed 04/03/19 Page 5 of 5 Pageid#: 4271




                         Sharia      <LaB3Ouf @ssS abJfl • May 26                                               V
                         I warr; to ma<c m's VefY c eEor•.

                         rw'<k M'ke EP-Od'l. Th:s asslm outsourc<CS :i-e p.n1aM suffei"rg tMt a-e a CJ.?ct
                         result o' h:s persona ·d·ocy 'or pro=..

                         0    8        t..--i   4                   B
                         f'l.Jack WanderVogel         @JWande_rvog;: , May 26                                   V

                         :Xpla'n ?

                         0 1           t..--i                       B
                         Sharia '«J <LaB30uf @ss; at>Jff ~1ay 2E                                                 V
                         Tre • Jl"l'te the righ~- suategyof rralcing "..:.Jt<rgh: " exp ·a t ywfte r at:ona ·s: was
                         o very s:up la ·dea ar>d nobody rc ,ool'!S'b e tor t Aot b urC'er rs tver e'd to
                         accoJr t. We v.ere b!!ner o"f whe" we coJ d btc::r d ir w'th norrries.

                         0    3        U3             0    9        B
                         SwiFT (25\' r _ 1889 May 26                                                            V

                         So M.kc Enoch goes ,o a ra 'Y he was ·r vi:ed to ard riow you're rrad a: r im?

                         We a·e so so so "ar pas, obiJscat·on a: tt,·s po·rt The GOP strategy of ·t;;end·rg
                         ·n the w't o normie ;" t,as goten us opc::n bordEJS ard a degene ratt: brokEn
                         socie.y. Le: tre truth spea<.

                         0    2        t..--i   2     0    4        B

                         Sheli Shmosley                                                   (    follow     )     v
                         @She _Sl'lros ey




               Not ta king a stand one one or another but
               "So M ike Enoch goes to a rally he was invited
               to and now you 're m.ad at him ? is not in                          11



               anyway how UTR happened. I can't say much
               more for obvious reasons but that's just
               untrue.
               7:4, OM - 27 May 2016


               1   uKc



               0 1           t.--i              0 1
